Case 2:21-cr-20050-LVP-RSW ECF No. 25, PageID.164 Filed 10/22/21 Page 1 of 2




                 THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,                          NO. 21-20050

                         Plaintiff                 Honorable Linda V. Parker
      vs.

D-1 Viktor Gjonaj,

                         Defendant.

____________________________________/

 Motion and Order to Seal Judgement and Commitment Order (ECF No. 24,
   PageID.155) and to File Amended Judgement and Commitment Order

      The United States of America requests that the Judgement and Commitment

Order filed in the case on October 10, 2021 be sealed and that an Amended

Judgement and Commitment Order be filed for the following reasons:

   • On October 10, 2021, a Judgement and Commitment Order was filed which

      included the full names and addresses of the victims. (ECF No. 24,

      PageID.160).

   • The Crime Victims’ Rights Act requires that victims be treated with fairness

      and respect for their dignity and privacy. 18 U.S.C. § 3771(a)(8).

   Wherefore, in an abundance of caution, the government respectfully requests

   that the original Judgement and Commitment Order be sealed to protect the
Case 2:21-cr-20050-LVP-RSW ECF No. 25, PageID.165 Filed 10/22/21 Page 2 of 2




  privacy of the victims and that an Amended Order be filed excluding the names

  and addresses of the victims.

     IT IS SO ORDERED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE
   Dated: October 22, 2021



                                    Respectfully submitted,

                                    SAIMA S. MOHSIN
                                    Acting United States Attorney

                                     s/ Karen L. Reynolds
                                    KAREN L. REYNOLDS (P31029)
                                    Assistant U.S. Attorney
                                    211 West Fort Street, Suite 2001
                                    Detroit, MI 48226
                                    (313) 226-9672
                                    karen.reynolds@usdoj.gov

Dated: October 22, 2021
